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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D) AND LOCAL
CRIMINAL RULE 57.4
In Case Number |:14-¢v-0064%, Case Name Mah days vy. Mexth eac Capital, Th nc. er al
Party Represented by Applicant: M, ext (sear Cap! in i, ruc.

Yo: The Honorable Judges of the United States District Court for the Eastern District of Virginia
PERSONAL STATEMENT

FULL NAME (no initials, please) Ja mes Paova las Sra g dp Qn

Bar Identification Number $3U%) State * Vivaimia
FirmName Gallaaher Evelivs Y Jones Le
Firm Phone # yp Y4Z7-7702. Direct Dial# Yio 9 5/-fyle FAX # 4ID-4b68- 2786

E-Mail Address___) bv agdon@ gejlaw. Com
Office Mailing Addtess “ 2/3 AY. Chadles of. Ste. YOO | Baltimore, UP Z[Zel

Name(s) of federal court(s) in which | have been admitted U.S »D.C. May lave d, BS.f A. Urh Cie, U8, Sup ta Co tt

I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro Aac vice admission
privilege to members of the bar of the Eastern District of Virginia,

I have not been reprimanded in any court nor has there been any action m any court pertaining to my conduct or fitness as a
member of the bar.

[hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Ruies of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

Tam am not x a full-time employee of the United States of America, and if so, request ae ee from the admission fee.
ens s Signature) 27

L, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant’s personal statement. I affirm that his/her personal and professional character and standing are good, and

petition the court to admit the applicant pro hae vice.
lv. blér G/to [id
(Signatur WhA (Date}
Ash ley bin Sk 79224

(Typed or Printed Name} (VA Bar Number)
Court Use Only:
Cierk’s Fee Paid or Exemption Granted
The motion for admission is GRANTED or DENTED

(Judge’s Signature) . (Date}
